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INTHE UNITED STATES DISTRICT COURT. «2 PR TT BO

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FOR THE DISTRICT OF NEW MEXICO fea fo EA
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UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
Vs. )
)
JOSE CARLOS ARRAS, JR. )  CRIMINALNO. 02- O43 MCA
and LORENZO RUIZ, )
) COUNT I: 21 U.S.C. § 963: Conspiracy to
Defendants. ) Import;
)
) COUNT II: 21 U.S.C. § 846: Conspiracy.
INDICTMENT
The Grand Jury charges:
COUNT I

Between on or about the Ist day of January, 2002, and continuing thereafter until
or on about the 29th day of March, 2002, in Dofia Ana County, in the State and District of New
Mexico and elsewhere, the defendants, JOSE CARLOS ARRAS, JR. and LORENZO RUIZ, did
unlawfully, knowingly and intentionally combine, conspire, confederate and agree together and with
each other and with other persons whose names are known and unknown to the grand jury to commit
the following offense against the United States, to wit: Importation of less than 50 kilograms of
Marijuana, a Schedule I controlled substance, into the United States of America from a place outside
the United States, to-wit: the Republic of Mexico, contrary to 21 U.S.C. § 952(a); 21 U.S.C.
§ 960(a)(1); and 21 U.S.C. § 960(b)(4).

In violation of 21 U.S.C. § 963.
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COUNT Il

Between on or about the 1st day of January, 2002, and continuing thereafter until or
on about the 29th day of March, 2002, in Dofia Ana County, in the State and District of New Mexico
and elsewhere, the defendants, JOSE CARLOS ARRAS, JR. and LORENZO RUIZ, did
unlawfully, knowingly and intentionally combine, conspire, confederate and agree together and with
each other and with other persons whose names are known and unknown to the grand jury to commit
the following offense against the United States, to wit: Possession with intent to distribute less than
50 kilograms of Marijuana, a Schedule I controlled substance, contrary to 21 U.S.C. § 841 (a)(1) and
21 U.S.C. § 841 (b)(1)(D).

In violation of 21 U.S.C. § 846.

A TRUE BILL:

    

PERSON OF THE GRAND JURY

  

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